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 1
 2      IN THE UNITED STATES DISTRICT COURT
 3      FOR THE SOUTHERN DISTRICT OF NEW YORK
 4      Civil No.: 19 Civ. 08655 (LGS)(GWG)
 5      -----------------------------------x
        ULKU ROWE,
 6
                    Plaintiff,
 7
 8
               - against -
 9
10
        GOOGLE LLC,
11
                    Defendant.
12      -----------------------------------x
                        October 14, 2020
13                      9:39 a.m.
14
15             Videotaped Deposition of ULKU ROWE,
16      taken by Defendant, pursuant to Notice,
17      held via Google Hangouts videoconference,
18      before Todd DeSimone, a Registered
19      Professional Reporter and Notary Public of
20      the States of New York and New Jersey.
21
22
23
24
25

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         Google's motion for summary judgment                               Google's motion for summary judgment




                                                      Page 23                                                      Page 25
 1            U. ROWE                                            1           U. ROWE
 2 knowledge, already provided your lawyers                      2 happened.
 3 with all documents and information that you                   3    Q. And when was the conversation?
 4 have in your possession that relates to                       4    A. So sometime in November of
 5 this case?                                                    5 2017.
 6    A. Yes.                                                    6    Q. At the top of the document it
 7          MR. GAGE: Sara, could you mark                       7 says 20 November 2017. Do you see that?
 8 tab 6 as Exhibit 3.                                           8    A. I do.
 9          (Defendant's Exhibit 3 marked                        9    Q. Did you write that date to
10 for identification.)                                         10 represent the date you wrote the notes?
11          MS. TOMEZSKO: It should be                          11    A. I don't remember that. I don't
12 available now on the drive.                                  12 remember if it was the date of the
13    Q. Let me know when you have a PDF                        13 conversation or the date of the notes.
14 that is labeled tab 6, Ms. Rowe, and the                     14    Q. And the first line says
15 Bates number on this, for the record, is                     15 "Summary of the items we discussed today."
16 P001586-1587.                                                16         Who is the "we"?
17    A. Yeah, I have it.                                       17    A. Melissa and I.
18    Q. What is this?                                          18    Q. And how did this conversation
19    A. I believe these are some notes                         19 take place, was this face to face, was this
20 that I took during the conversation with                     20 over the phone?
21 Melissa, Melissa Lawrence.                                   21    A. I believe this was
22    Q. And these notes were recently                          22 videoconference, video conversation.
23 provided to us in discovery. When did you                    23    Q. Who initiated it?
24 give these to your lawyer?                                   24    A. I did.
25    A. My lawyers had them for a while                        25    Q. And to the best of your
                                                                                                     7 (Pages 22 - 25)
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                                                  Page 26                                                      Page 28
 1           U. ROWE
 2 knowledge, does this reflect notes that you
 3 took close in time to that conversation                                Page not submitted in support of
 4 taking place?                                                       Google's motion for summary judgment
 5    A. Correct.
 6    Q. Did you record everything that
 7 was said in the conversation?
 8    A. It is not a transcription of
 9 the conversation, it's the highlights of
10 like what stuck with me, the summary of the
11 conversation.
12    Q. So this reflects what stuck
13 with you from the conversation?
14    A. Correct.
15    Q. But not necessarily everything
16 that was said?
17    A. It was meant to represent a
18 summary of the conversation, yes.
19    Q. But not necessarily everything
20 that was said?
21    A. It doesn't capture every single
22 sentence as it was said, but it was also
23 not meant to leave out, you know, major
24 topics.
25    Q. And Melissa -- what is
                                                  Page 27                                                      Page 29


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                                                     Page 87                                                      Page 89
                                                                1            U. ROWE
            Page not submitted in support of                    2     A. I don't know the exact time
         Google's motion for summary judgment                   3 that he had the cloud experience. No, I
                                                                4 don't know that.
                                                                5     Q. So does that mean you do not
                                                                6 know whether he had more cloud experience
                                                                7 at the point he joined Google than you had
                                                                8 when you joined Google?
                                                                9     A. I don't know that.
                                                               10     Q. What was his prior cloud
                                                               11 experience before he joined Google?
                                                               12     A. So I believe he worked at GE
                                                               13 and worked on their AWS migration.
                                                               14     Q. What was your cloud experience
                                                               15 before you joined Google?
                                                               16     A. I was at J.P. Morgan working on
                                                               17 their AWS migration.
                                                               18     Q. What were you doing working on
                                                               19 the AWS migration at J.P. Morgan? What was
                                                               20 your job on that project?
                                                               21     A. I ran risk systems, I ran
                                                               22 credit risk systems, and we were migrating
                                                               23 high credit risk systems to the cloud.
                                                               24     Q. And what was your role in that
                                                               25 process of migration?
                                                                                                 23 (Pages 86 - 89)
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                                                  Page 90                                                       Page 92
 1            U. ROWE
 2    A. I ran the team that was working
 3 on the migration.
                                                                          Page not submitted in support of
 4    Q. You identified Royal Hansen as                                Google's motion for summary judgment
 5 someone you believe is similarly situated
 6 to you. Who is Royal Hansen?
 7    A. Royal is an eng VP.
 8    Q. What does Royal Hansen do at
 9 Google?
10    A. He works in the security area.
11    Q. What does he do?
12    A. He runs an engineering team in
13 security.
14    Q. And what does it mean to run an
15 engineering team in security?
16    A. I don't know what -- I don't
17 know the exact specifics, but, you know,
18 his focus is on security, security
19 products.
20    Q. And what about security
21 products, designing them, building them?
22    A. I believe those would be
23 included, yes.
24    Q. What else does he do?
25    A. I don't know -- I don't know
                                                  Page 91                                                       Page 93


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                                                  Page 94                                                       Page 96
 1           U. ROWE
 2 you know, just we're in the same company
 3 and I have, you know, I hear his name, and
                                                                          Page not submitted in support of
 4 to my knowledge he is still a VP.                                   Google's motion for summary judgment
 5    Q. By the way, while you were at
 6 J.P. Morgan, did you -- did J.P. Morgan
 7 complete the AWS migration before you left?
 8    A. No.
 9    Q. When did it start?
10    A. I'm a little hazy on dates,
11 but, you know, I think somewhere around a
12 year before I left is when we started.
13    Q. And prior to working on the AWS
14 migration at J.P. Morgan, had you had any
15 other cloud experience in any of your jobs?
16    A. So before then I didn't
17 actively work on a cloud migration. You
18 know, financial services is an area that
19 has been late to the cloud. It has been a
20 very conservative industry. I had
21 personally read and studied the cloud.
22    Q. Just for your own personal
23 professional interest, correct?
24    A. Correct, while I was at J.P.
25 Morgan.
                                                  Page 95                                                       Page 97


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                                                                                             25 (Pages 94 - 97)
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       Google's motion for summary judgment                              Google's motion for summary judgment




                                                    Page 99                                                      Page 101
 1            U. ROWE
 2 you know, someone that provides thought
 3 leadership, so, you know, a leadership role                               Page not submitted in support of
                                                                          Google's motion for summary judgment
 4 outside of OCTO.
 5     Q. But when he left OCTO, he also
 6 took on responsibility for managing a team
 7 of people, correct?
 8     A. Correct. That's my
 9 understanding.
10     Q. When he was in OCTO, was he
11 managing other people?
12     A. I don't remember if -- I don't
13 remember if he did.
14     Q. Have you at any point in time
15 since you have been at Google managed other
16 people?
17     A. I have not.
18     Q. Is that sometimes referred
19 to --
20     A. Well, other than my executive
21 assistant.
22     Q. Is that sometimes referred to
23 as an individual contributor?
24     A. Yes.
25     Q. So you have been an individual
                                                                                               26 (Pages 98 - 101)
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       Google's motion for summary judgment                                 Google's motion for summary judgment




                                                   Page 107                                                        Page 109
                                                               1            U. ROWE
            Page not submitted in support of                   2     A. We have similar
         Google's motion for summary judgment                  3 responsibilities.
                                                               4     Q. Sufficient for you to consider
                                                               5 Mr. Penberthy to be similarly situated to
                                                               6 you, correct?
                                                               7     A. So I have since learned that,
                                                               8 you know, Scott is at level 8, but I think,
                                                               9 what I believe, is my experience and my
                                                              10 qualifications are in line with the level 9
                                                              11 men in OCTO.
                                                              12     Q. But he is similarly situated to
                                                              13 you, correct, Mr. Penberthy?
                                                              14     A. Incorrect.
                                                              15     Q. You gave an answer under the
                                                              16 penalty of perjury in your interrogatory
                                                              17 response that Scott Penberthy is similarly
                                                              18 situated to you, right?
                                                              19     A. Well, at that time, you know, I
                                                              20 thought he was a level 9, and through
                                                              21 discovery I learned that he was a level 8.
                                                              22     Q. So that changes your answer,
                                                              23 right?
                                                              24     A. So, look, I don't know every
                                                              25 single qualification and everything that
                                                                                               28 (Pages 106 - 109)
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                                           Page 130                                                     Page 132
 1            U. ROWE
 2 skills, qualifications and job duties,
                                                                Page not submitted in support of
 3 right?                                                    Google's motion for summary judgment
 4          MS. GREENE: Objection.
 5    A. Ask me the question again.
 6    Q. Let's take -- let's take it
 7 differently. Tell me everything that you
 8 know about Eric Schenk's job duties and
 9 responsibilities.
10    A. I don't know everything that
11 Eric does.
12    Q. I'm asking you to tell me
13 everything that you know.
14    A. But I do know that he works on
15 security. I do know that he does, you
16 know, product and engineering leadership.
17 I do know that he does -- he does client
18 engagements. And I do know that he does
19 some thought leadership.
20    Q. And you do know that he manages
21 people, right?
22    A. I do, yes.
23    Q. What do you know about Eric
24 Schenk's background, experience,
25 qualifications and education?
                                           Page 131                                                     Page 133
 1            U. ROWE
 2     A. Again, I don't know everything
                                                                    Page not submitted in support of
 3 about Eric's background and qualifications,                   Google's motion for summary judgment
 4 but I do believe that in terms of, you
 5 know, his experience and skills, they are
 6 comparable to mine.
 7     Q. So based upon what you know,
 8 sitting here right now, do you believe Eric
 9 Schenk is similarly situated to you?
10     A. Yes.
11     Q. Now, if you were to find out
12 that he is a level 8, would your answer
13 change?
14     A. I don't know. I don't know.
15     Q. But you found out that Scott
16 Penberthy is a level 8 and your answer did
17 change, so why wouldn't it change for Eric
18 Schenk?
19         MS. GREENE: Objection.
20     A. Look, I don't know.
21     Q. Okay, you don't know.
22         Let's talk about Paul Strong.
23 Tell us everything you know about Paul
24 Strong's background, experience, and
25 education.
                                                                                    34 (Pages 130 - 133)
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                                                 Page 170                                                     Page 172
 1            U. ROWE
 2 Stuart was included and I wasn't.
 3     Q. How many off-sites took place                                   Page not submitted in support of
 4 while you worked for Tariq that you were                            Google's motion for summary judgment
 5 not invited to?
 6     A. I don't know.
 7     Q. Do you know how many off-sites
 8 Tariq had during the time you worked for
 9 him?
10     A. I don't know.
11     Q. Do you know if -- do you know
12 if Tariq had any off-sites during the time
13 you worked for him that you were not
14 invited to?
15     A. I don't know.
16     Q. You indicated that you believed
17 you were left out of team meetings. What
18 team meetings were you left out of?
19     A. So Tariq would have regular
20 team meetings that he would use his team
21 e-mail to send invitations to, so I was
22 left out of those, and other meetings where
23 he met with his team members but I wasn't
24 there.
25     Q. How many times did that happen,
                                                 Page 171                                                     Page 173


             Page not submitted in support of                             Page not submitted in support of
          Google's motion for summary judgment                         Google's motion for summary judgment




                                                                                           44 (Pages 170 - 173)
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                                             Page 174                                                    Page 176
 1            U. ROWE
 2 believed you should have been invited to?
 3     A. I don't know what the meeting                              Page not submitted in support of
 4 was about, but it was about financial                          Google's motion for summary judgment
 5 services.
 6     Q. Was that at a point at which
 7 you were still in Tariq's organization when
 8 Leonard Law shared that with you?
 9     A. I believe so, yes.
10     Q. Did you believe you should have
11 been in every meeting that Tariq held with
12 anyone who worked on his team?
13     A. No.
14     Q. Did you believe that you should
15 have been invited to every meeting with
16 Tariq that had anything to do with
17 financial services?
18     A. No. But I do believe that I
19 should have been in every staff meeting
20 that he had.
21     Q. When you first came to believe
22 you were not on the e-mail list for his
23 staff meetings, what did you do? Did you
24 tell anyone?
25     A. Yes.
                                             Page 175                                                    Page 177
 1             U. ROWE
 2    Q. Who did you tell?
 3    A. So, first, I asked my admin to                              Page not submitted in support of
                                                                  Google's motion for summary judgment
 4 check with Tariq's admin to make sure it
 5 was okay, then I asked -- I believe I asked
 6 Tariq's admin directly, and, finally, I
 7 asked Tariq.
 8    Q. And what did you learn?
 9    A. The responses changed over
10 time, but it was, you know, first, I
11 think -- I think some of the answers were
12 they were working on the e-mail lists, so,
13 you know, it was in flight. Other times it
14 was an oversight. Other times it was, you
15 know, they forgot. You know, so the
16 answers changed.
17    Q. Do you have any reason to
18 believe that any of the responses you got
19 were false?
20    A. Look, I don't have any reason
21 to believe the responses were false, but I
22 knew that my male peers were in these
23 meetings and I wasn't, so I was being
24 treated differently.
25    Q. What male peers?
                                                                                      45 (Pages 174 - 177)
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                                           Page 186                                             Page 188
 1             U. ROWE                                 1            U. ROWE
 2 meetings with any of the institutions you           2    A. I just can't remember what type
 3 just listed,                                ,       3 of clients I was working with during
 4                                  , and              4 Tariq's time, so it is hard for me to
 5         during the time that you worked with        5 answer.
 6 Tariq?                                              6    Q. But my question, I wasn't
 7     A. Look, I don't remember the                   7 asking you which ones, I was asking you
 8 individual meetings. Again, like I have a           8 whether during the time you worked with
 9 lot of customer meetings, so I can't -- I           9 Tariq you developed any sort of a regular
10 don't know how many or what time with what         10 schedule or regular cadence of having
11 customers. It is hard for me to remember           11 meetings with priority clients?
12 right now.                                         12    A. So, again, you know, a lot of
13     Q. So you don't know one way or                13 the meetings are not on a cadence. They
14 the other whether you met with any of those        14 depend on the account team wanting to have
15 banks during the time you worked for Tariq?        15 that meeting at a customer. They are not
16     A. I just don't remember, yeah. I              16 like weekly recurring meetings all the
17 do remember, you know, having client               17 time. But during my time working for
18 meetings during my time working for Tariq,         18 Tariq, I did have many customer meetings
19 I just couldn't tell you with what customer        19 with the priority accounts. I just, again,
20 over what period.                                  20 can't remember which customer when.
21     Q. How many months did you work                21    Q. So when you say the accounts
22 for Tariq, approximately?                          22 team, are those the folks in sales?
23     A. I think roughly it was about                23    A. Yes.
24 ten months.                                        24    Q. So the sales folks would come
25     Q. During that ten-month period,               25 to you and they would essentially dictate
                                           Page 187                                             Page 189
 1            U. ROWE                                  1            U. ROWE
 2 how many customer meetings did you                  2 when these customer meetings took place; is
 3 participate in with the customers we have           3 that fair?
 4 just been talking about?                            4     A. Well, they wouldn't dictate,
 5     A. I don't remember the exact.                  5 no.
 6 Yeah, I don't remember.                             6     Q. Then did you go to the accounts
 7     Q. Was it something you did once a              7 team and tell them to schedule meetings
 8 month with each of them? Withdrawn.                 8 with customers?
 9         Did you have regular meetings               9     A. No.
10 with each of these customers?                      10     Q. Well, tell me how it worked.
11     A. No. A lot of these are not                  11     A. Usually they would come with a
12 like, you know, most of these customers you        12 request to say, you know, we're trying to
13 don't meet, you know, every day on an              13 do something with this customer, like we
14 ongoing basis. Usually it changes with the         14 are trying to talk to this team, that team,
15 demand that is coming from the customer            15 this team, and would collectively figure
16 team and where that relationship is. So I          16 out what the right time would be, who the
17 know that like on a given week or on a             17 right individuals would be, and what the
18 given month I have multiple customer               18 meeting would look like.
19 meetings usually a week, but like I can't          19     Q. And was it the account team
20 remember what customer I met with what week        20 that took the initiative to get these
21 or what month during this time.                    21 going?
22     Q. During the time that you worked             22     A. Usually the requests come from
23 for Tariq, did you develop any sort of a           23 the account teams.
24 regular cadence with any of the priority           24     Q. Did you yourself target any
25 clients?                                           25 particular clients, particular, you know,
                                                                                  48 (Pages 186 - 189)
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                                                    Page 190                                               Page 192
                                                                1            U. ROWE
                                                                2 storage engineering.
           Page not submitted in support of                     3     Q. Did you get that job?
        Google's motion for summary judgment
                                                                4     A. So that job didn't pan out,
                                                                5 because the hiring manager left Google.
                                                                6     Q. What was the second opportunity
                                                                7 at Google that you pursued?
                                                                8     A. So after that Google would call
                                                                9 me every few months with different
                                                               10 opportunities, but I don't think, you know,
                                                               11 any of them were right, so Office of the
                                                               12 CTO was the first one, after the role in
                                                               13 storage engineering, that I actually came
                                                               14 in and interviewed for.
                                                               15     Q. And is that job, the one in
                                                               16 OCTO, the one you ultimately got, is that
                                                               17 the one you are referring to?
                                                               18     A. Yes.
                                                               19         MR. GAGE: Sara, can we share
                                                               20 tab 15, and, Mr. Court Reporter, what
                                                               21 exhibit are we up to?
                                                               22         THE COURT REPORTER: This
                                                               23 should be 5.
                                                               24         (Defendant's Exhibit 5 marked
                                                               25 for identification.)
                                                    Page 191                                               Page 193
                                                                1            U. ROWE
            Page not submitted in support of                    2     Q. Mr. Rowe, let me know when you
         Google's motion for summary judgment                   3 have that.
                                                                4     A. Yes, I have that.
                                                                5     Q. Is this the description of the
                                                                6 job that you ultimately were hired for?
                                                                7     A. Yes.
                                                                8     Q. And when you were hired for
                                                                9 this position, the position of technical
                                                               10 director, Office of the CTO, Google Cloud,
                                                               11 what was your understanding of what your
                                                               12 job duties would be?
                                                               13     A. There would be three main
                                                               14 components to it, one around product and
                                                               15 eng, second around client engagements at
                                                               16 the CXO level, and third, thought
                                                               17 leadership in the industry, so outward
                                                               18 facing and also internal facing.
                                                               19     Q. Let's take those apart one at a
                                                               20 time.
                                                               21         The first one, you said product
                                                               22 and engineering. Now, those are two nouns,
                                                               23 as I understand them. Can you translate
                                                               24 that into what that means for job duties?
                                                               25     A. So it means that providing
                                                                                            49 (Pages 190 - 193)
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                                           Page 194                                                    Page 196
 1           U. ROWE
 2 guidance and advice into the product teams
 3 in terms of, you know, how to build Google                      Page not submitted in support of
 4 Cloud's products so that they served the                     Google's motion for summary judgment
 5 industry needs.
 6     Q. And then the second thing you
 7 mentioned was client engagement at the CXO
 8 level. Can you expand on that?
 9     A. So that means working with
10 Google's, you know, most important clients
11 to understand their business needs, you
12 know, what they want the future of their
13 businesses to look like, and then to work
14 with them to plot out a strategy on how
15 Google Cloud's technology could help them
16 achieve that, you know, again, providing
17 them guidance, advisory, working with a
18 collaborative group of Googlers, not just
19 about Google Cloud's technology, but Google
20 technology broader, to solve the big
21 customer problems and to help them use
22 Google Cloud.
23     Q. And then the last component you
24 said was thought leadership. Can you
25 explain what you understood that to mean?
                                           Page 195                                                    Page 197
 1            U. ROWE
 2     A. So thought leadership is
 3 basically having credibility in the                             Page not submitted in support of
                                                                Google's motion for summary judgment
 4 marketplace, you know, both again
 5 externally and industry, to provide a
 6 direction and strategic thinking into how
 7 the industry is changing, how technology is
 8 enabling that change, you know, be the
 9 voice of Google, be the technical voice of
10 Google, the industry voice of Google, to
11 actually shape how the future of the
12 industry is going to work, you know, go
13 through like an industry perspective on the
14 way the technology supports that.
15     Q. And when you were hired into
16 this job, what was your understanding of
17 who you would report to?
18     A. Will Grannis.
19     Q. And what was your understanding
20 at the time you were hired into this job of
21 Will Grannis' job duties and
22 responsibilities?
23     A. So obviously Will was leading
24 the team, and other than that, you know,
25 his responsibilities were similar to what I
                                                                                    50 (Pages 194 - 197)
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                                                Page 202                                              Page 204
                                                            1            U. ROWE
                                                            2     A. Well, Google has asked me on
           Page not submitted in support of
                                                            3 their behalf to speak on Google and Google
        Google's motion for summary judgment                4 Cloud on many, many occasions, describing
                                                            5 me as a Google Cloud expert.
                                                            6     Q. Are you aware of any documents
                                                            7 that existed at the time you were hired by
                                                            8 Google that described you as an expert in
                                                            9 cloud computing?
                                                           10     A. I am not aware of that.
                                                           11     Q. During the hiring process that
                                                           12 we are talking about that led to you being
                                                           13 hired as a technical director in the Office
                                                           14 of the CTO, didn't you at one point
                                                           15 indicate that you were not an expert in
                                                           16 cloud computing?
                                                           17     A. I don't remember that. Again,
                                                           18 context is important here. Like being an
                                                           19 expert in cloud computing in financial
                                                           20 services versus being an expert in cloud
                                                           21 computing in a cloud native company can
                                                           22 mean different things, so context is
                                                           23 important.
                                                           24     Q. Well, let's go back to that for
                                                           25 a minute. You described a minute ago what
                                                Page 203                                              Page 205
                                                            1            U. ROWE
            Page not submitted in support of                2 you understood Google was looking for.
         Google's motion for summary judgment               3 What was the basis for that understanding,
                                                            4 was it the job description?
                                                            5     A. It was the job description and
                                                            6 my conversations with Will and other
                                                            7 interviewers.
                                                            8     Q. Will and who else, what other
                                                            9 people?
                                                           10     A. Will, HR person, Jenny, the
                                                           11 people that have interviewed me, I think
                                                           12 Brian was one of them, Salman was I think
                                                           13 another interviewer. I can't remember all
                                                           14 the names of the interviewers.
                                                           15     Q. Does the document that we have
                                                           16 marked here as Exhibit 5, Position
                                                           17 Description for Technical Director, Office
                                                           18 of the CTO, does it fairly describe the
                                                           19 responsibilities of the job that you were
                                                           20 hired for and then performed in the Office
                                                           21 of the CTO?
                                                           22     A. So this is tab 15, right?
                                                           23     Q. Yes, tab 15, yes, I'm sorry.
                                                           24     A. Yes, it's fair.
                                                           25     Q. Do you know who Krista
                                                                                       52 (Pages 202 - 205)
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                                                 Page 206                                                     Page 208
 1            U. ROWE
 2 Callaghan is?
 3     A. I think Krista was an HR                                        Page not submitted in support of
 4 person.                                                             Google's motion for summary judgment
 5     Q. And she was somebody that you
 6 communicated with during the recruiting and
 7 hiring process, correct?
 8     A. I believe so.
 9          MR. GAGE: Sara, can we put up
10 tab 16, and this will be Exhibit 7, and
11 this is Bates stamped P000550 through 552.
12          (Defendant's Exhibit 7 marked
13 for identification.)
14     A. Okay.
15     Q. Do you have it?
16     A. Yes.
17          MS. GREENE: I'm sorry, can you
18 just repeat what tab we are looking at?
19          MR. GAGE: Tab 16.
20          MS. GREENE: Thank you.
21     Q. Ms. Rowe, this is an e-mail
22 exchange between you and Krista Callaghan
23 at Google, right?
24     A. Yes.
25     Q. Do the dates indicate that this
                                                 Page 207                                                     Page 209
                                                             1            U. ROWE
             Page not submitted in support of                2     Q. So is that a yes?
          Google's motion for summary judgment               3     A. So the question was? Ask your
                                                             4 question again.
                                                             5     Q. So does this refresh your
                                                             6 recollection that you told Krista Callaghan
                                                             7 that you were not a cloud expert?
                                                             8     A. Yes. Yeah, it refreshes my
                                                             9 memory.
                                                            10     Q. Right, okay. So you did,
                                                            11 during this process of being recruited to
                                                            12 Google, say to Google you were not a cloud
                                                            13 expert, right?
                                                            14          MS. GREENE: Objection.
                                                            15     A. In this e-mail, yes, I said
                                                            16 that in this e-mail.
                                                            17     Q. Well, actually she said this in
                                                            18 this e-mail, right? She was describing the
                                                            19 conversation she had with you, right?
                                                            20     A. Correct.
                                                            21     Q. And you just indicated that you
                                                            22 were coming from an industry that had been
                                                            23 late to adopting the cloud, and that's one
                                                            24 of the reasons you were not a cloud expert,
                                                            25 correct?
                                                                                             53 (Pages 206 - 209)
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                                                 Page 210                                                     Page 212
 1            U. ROWE
 2     A. Correct.                                                    Page not submitted in support of
 3     Q. And at the point at which you                            Google's motion for summary judgment
 4 were hired by Google, did you have any
 5 experience at all building cloud products?
 6     A. So I had experience using cloud
 7 products, but J.P. Morgan does not sell
 8 cloud, so I did not have experience
 9 building cloud products.
10     Q. And was your cloud experience,
11 at the time you were hired by Google,
12 limited to your work on the cloud migration
13 project at J.P. Morgan that you described
14 earlier today?
15     A. Incorrect.
16     Q. I think you said incorrect, but
17 we had a frozen screen here. So am I
18 right, you said incorrect?
19     A. I said incorrect because, you
20 know, my experience wasn't just limited to
21 that. Obviously, you know, we are reading,
22 you know, and catching up with the industry
23 as things were happening, but, broadly
24 speaking, yes.
25     Q. Now, during the recruiting
                                                 Page 211                                                     Page 213


             Page not submitted in support of                             Page not submitted in support of
          Google's motion for summary judgment                         Google's motion for summary judgment




                                                                                           54 (Pages 210 - 213)
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                                             Page 238                                                Page 240
 1            U. ROWE
 2         MS. GREENE: Objection.
 3     Q. And you can't think of anything
                                                                 Page not submitted in support of
 4 else right now other than the fact that                    Google's motion for summary judgment
 5 some men were hired as level 9's, and what
 6 you believe to be their relative level of
 7 experience and qualifications, you can't
 8 think of anything else that leads you to
 9 believe that your hiring -- your leveling
10 at hire was because of your sex?
11         MS. GREENE: Objection.
12     A. That's not what I said. You
13 know, I said it was because of my own
14 qualifications, what I know to be true
15 about myself. I know the qualifications of
16 the men. And I know, you know, the roles
17 that they are playing. And I know, you
18 know, the expectations of a level 9 at
19 Google. So all of those are part of the
20 reasons that led me to believe.
21     Q. You are talking about the
22 people who you believe are your
23 comparators, correct?
24     A. Yes.
25     Q. So other than the fact that you
                                             Page 239                                                Page 241
 1             U. ROWE
 2 have identified these men as your
                                                                 Page not submitted in support of
 3 comparators, other than the fact that you                  Google's motion for summary judgment
 4 believe that you are sufficiently similar
 5 to them in terms of your qualifications,
 6 your experience and your job, other than
 7 that, is there anything else that leads you
 8 to believe that your leveling at hire was
 9 because of your sex?
10     A. I can't think of anything else
11 right now.
12     Q. At the time you were offered
13 the job, did you raise any questions or
14 issues regarding your level?
15     A. I did.
16     Q. With whom?
17     A. So before the hiring, you know,
18 before I signed the offer, I did raise
19 concerns that, you know, that I was a
20 managing director, you know, I was the
21 highest level of promotion in the financial
22 services industry, and I wasn't sure if
23 level 8 was the right level. The first
24 time I raised that was with Jenny Burdis.
25     Q. With who, I'm sorry?
                                                                                   61 (Pages 238 - 241)
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                                                    Page 262                                             Page 264
                                                                1            U. ROWE
                                                                2          MS. GREENE: Objection.
           Page not submitted in support of                     3     A. Well, I knew what kind of
        Google's motion for summary judgment
                                                                4 individuals were, and based on that I made
                                                                5 the statement that I was better qualified.
                                                                6     Q. Now, you have since, in the
                                                                7 course of discovery, come to know who some
                                                                8 of the other candidates were, correct?
                                                                9     A. I saw some of the names, yes.
                                                               10     Q. Were you better qualified than
                                                               11 all of them?
                                                               12     A. Look, I don't know, and I can't
                                                               13 speak to all of their qualifications, but I
                                                               14 know who the role ultimately went to, and
                                                               15 I -- and I kind of know my qualifications
                                                               16 with respect to that individual, so I can
                                                               17 speak to that.
                                                               18     Q. Do you know who
                                                               19 is?
                                                               20     A. I have heard the name.
                                                               21     Q. Do you know anything about her
                                                               22 qualifications?
                                                               23     A. I don't know much. I know that
                                                               24 at some point she
                                                               25              -- I don't know if she is still
                                                    Page 263                                             Page 265
                                                                1           U. ROWE
            Page not submitted in support of                    2 a VP, I don't know if she is still at
         Google's motion for summary judgment                   3 Google.
                                                                4    Q. Based upon what you know about
                                                                5 her, do you think you are better qualified,
                                                                6 equally qualified, or lesser qualified than
                                                                7 she would be for the head of financial
                                                                8 services role?
                                                                9    A. I can't comment on that.
                                                               10    Q. Why not?
                                                               11    A. I don't know.
                                                               12    Q. But you don't hesitate to
                                                               13 comment about your relative qualifications
                                                               14 compared to somebody's whose identity you
                                                               15 don't even know?
                                                               16         MS. GREENE: Objection.
                                                               17    Q. Right?
                                                               18    A. I know the qualifications that
                                                               19 they were missing.
                                                               20    Q. What qualifications was
                                                               21           missing?
                                                               22    A. I don't know
                                                               23 enough to talk about.
                                                               24    Q. What qualifications were these
                                                               25 other unnamed candidates missing?
                                                                                           67 (Pages 262 - 265)
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                                                 Page 266                                                     Page 268




            Page not submitted in support of                          Page not submitted in support of
         Google's motion for summary judgment                      Google's motion for summary judgment




                                                 Page 267                                                     Page 269
 1            U. ROWE
 2 experience.
                                                                          Page not submitted in support of
 3    Q. What about                      , do                          Google's motion for summary judgment
 4 you know anything about her?
 5    A. I don't.
 6    Q. So is it fair to say you don't
 7 have an opinion as to whether you are
 8 better, equal, or lesser qualified for the
 9 head of financial services role than her?
10    A. Look, I can't comment on
11 individuals.
12    Q. Because you would be
13 speculating, right?
14          MS. GREENE: Objection.
15    A. Because my claims and concerns
16 are about how I have been treated, not how
17 other candidates have been treated in this
18 process.
19    Q. Let's move on to another topic.
20          You on multiple occasions have
21 said that Stuart Breslow got the head of
22 financial services job that you were being
23 considered for, right?
24    A. Yes.
25    Q. Do you know whether Stuart
                                                                                            68 (Pages 266 - 269)
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                                                  Page 278                                                      Page 280
                                                              1            U. ROWE
                                                              2 sorry?
                                                              3     A. I considered all of those
             Page not submitted in support of
          Google's motion for summary judgment                4 options as demotions.
                                                              5     Q. As demotions, okay. Why did
                                                              6 you consider them demotions?
                                                              7     A. Well, one of them wasn't even a
                                                              8 role, it was go find another job, like I
                                                              9 would have no job, the other one was a much
                                                             10 more junior role, you know, working as a,
                                                             11 you know, in a much smaller focus project,
                                                             12 I think the        project at the time, much
                                                             13 more junior role, or I would go back to
                                                             14 OCTO, but Google would remove all of my
                                                             15 financial services focus.
                                                             16     Q. And you chose to go back to
                                                             17 OCTO, correct?
                                                             18     A. Correct.
                                                             19     Q. Now, when you first moved over
                                                             20 into Tariq Shaukat's organization from
                                                             21 OCTO, Ben and Evren also moved from OCTO
                                                             22 into Tariq's organization, correct?
                                                             23     A. So they were also told that
                                                             24 they were moving. I believe Evren never
                                                             25 actually moved.
                                                  Page 279                                                      Page 281
 1            U. ROWE
 2     A. After Stuart got the job, is                                      Page not submitted in support of
 3 that what you are asking, did I discuss                               Google's motion for summary judgment
 4 with Tariq?
 5     Q. Yes.
 6     A. No.
 7     Q. Did you ever have any
 8 discussions with Mr. Shaukat about what
 9 your role would be in his organization
10 going forward?
11     A. So in, I think it was in
12 February, I was told that my role was being
13 changed. I was given, you know, three
14 options.
15     Q. What were those three options?
16     A. I was given an option to work
17 on a focused small project, working for
18 Stuart Breslow. I was given the option to
19 go back to OCTO without a financial
20 services focus. And third option wasn't
21 really even real, it was that I could stay
22 and he could park me under Stuart until I
23 found a different role. And I considered
24 all of these three as demotions.
25     Q. You had all of these, I'm
                                                                                             71 (Pages 278 - 281)
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                                                Page 282                                                      Page 284
                                                            1            U. ROWE
                                                            2     Q. You indicated that -- you
            Page not submitted in support of                3 testified earlier today that you believe
         Google's motion for summary judgment
                                                            4 you were denied equity refreshes because of
                                                            5 your sex. Tell me everything that leads
                                                            6 you to believe that the equity refreshes
                                                            7 you got, the amount of them, or when you
                                                            8 didn't get equity refreshes, what leads you
                                                            9 to believe that that was because of your
                                                           10 sex.
                                                           11     A. Well, I was down-leveled on
                                                           12 hire, and that translated into lower
                                                           13 compensation as well as lower equity
                                                           14 refreshes compared to my male peers.
                                                           15     Q. Is there anything else that
                                                           16 leads you to believe that your equity
                                                           17 awards were based on your sex?
                                                           18     A. Well, yeah, I can't think of
                                                           19 anything else, it's basically the way that
                                                           20 I was leveled, and that carried on, you
                                                           21 know, that continued to haunt me, so to
                                                           22 speak, through my time at Google.
                                                           23     Q. Now, you used a term a minute
                                                           24 ago that I don't think either of us have
                                                           25 used in today's deposition until now, and
                                                Page 283                                                      Page 285


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         Google's motion for summary judgment                          Google's motion for summary judgment




                                                                                           72 (Pages 282 - 285)
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                                                Page 286                                              Page 288
                                                            1            U. ROWE
                                                            2         MS. GREENE: Objection.
            Page not submitted in support of
         Google's motion for summary judgment
                                                            3    A. I don't -- I don't know for a
                                                            4 fact.
                                                            5    Q. You don't know at all, do you?
                                                            6         MS. GREENE: Objection.
                                                            7    A. Well, I do know -- I do know
                                                            8 the level 9 men and my qualifications with
                                                            9 respect to them.
                                                           10    Q. And the level 9 men are the
                                                           11 only ones that you looked at, right?
                                                           12         MS. GREENE: Objection.
                                                           13    Q. Right?
                                                           14    A. Look, I didn't look at people
                                                           15 individually. Like this is broader than
                                                           16 just me comparing myself to four or five
                                                           17 individuals, this is me knowing my
                                                           18 qualifications and the kind of experience
                                                           19 that Google looks for in a L9 eng director
                                                           20 and knowing that, you know, I have those
                                                           21 similar qualifications.
                                                           22    Q. Have you ever hired a level 9
                                                           23 at Google?
                                                           24    A. I have not.
                                                           25    Q. Have you ever hired anyone at
                                                Page 287                                              Page 289
                                                            1            U. ROWE
            Page not submitted in support of                2 Google?
         Google's motion for summary judgment               3     A. I have not.
                                                            4     Q. Have you ever been through the
                                                            5 leveling process at Google, as a
                                                            6 participant in the process of leveling
                                                            7 someone?
                                                            8     A. I have not.
                                                            9     Q. Have you ever participated in a
                                                           10 hiring committee?
                                                           11     A. I have not.
                                                           12     Q. Have you ever participated in
                                                           13 any way in the decision-making process that
                                                           14 leads to the leveling of someone at hire at
                                                           15 Google?
                                                           16     A. I have done a lot of
                                                           17 interviews, but no, I have not specifically
                                                           18 been involved in leveling discussions, no.
                                                           19     Q. And in any of those interviews,
                                                           20 were you asked to offer an opinion as to
                                                           21 the level that someone was supposed to --
                                                           22 that someone might get?
                                                           23     A. I have not.
                                                           24     Q. You indicated earlier in your
                                                           25 testimony that there was another
                                                                                       73 (Pages 286 - 289)
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                                                 Page 290                                                     Page 292
 1            U. ROWE
 2 opportunity, VP, financial services and                                Page not submitted in support of
 3 sales, that you applied for in 2020. Do                             Google's motion for summary judgment
 4 you recall that testimony?
 5    A. I raised my hand for it.
 6    Q. What do you mean when you say
 7 you raised your hand for it?
 8    A. I expressed interest in it.
 9    Q. And how did you express
10 interest in it?
11    A. I heard from Kristen, and I'm
12 completely blanking on her last name,
13 Kristen runs sales for U.S., and I had -- I
14 had a one-on-one with her, and she
15 mentioned that she was thinking of hiring a
16 VP of sales for financial services, and I
17 told her that I would be interested.
18    Q. And what, if anything, happened
19 next in connection with your interest in
20 that job?
21    A. So she asked me to reach out to
22 HR, so I reached out to HR.
23    Q. Who did you reach out to in HR?
24    A. I think it was Stuart Weidman,
25 I'm not 100 percent sure.
                                                 Page 291                                                     Page 293


             Page not submitted in support of                         Page not submitted in support of
          Google's motion for summary judgment                     Google's motion for summary judgment




                                                                                           74 (Pages 290 - 293)
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                                          Page 298                                                     Page 300
 1            U. ROWE
 2 the three options that were presented to
 3 me.                                                             Page not submitted in support of
                                                                Google's motion for summary judgment
 4    Q. You had three options, and you
 5 chose, no one else chose for you, correct?
 6    A. Of the options that were given
 7 to me, yes, going back to OCTO was what I
 8 chose.
 9    Q. And Google had decided that
10 when you were in OCTO, you were going to be
11 focused on hybrid cloud, correct?
12    A. Yes.
13    Q. Do you have any reason to
14 believe that that decision to have you
15 focus on hybrid cloud was made because you
16 had raised complaints of discrimination?
17         MS. GREENE: Objection.
18    A. So I don't know what went into
19 that discussion, but what I have
20 experienced was Google removed all my
21 financial services related
22 responsibilities, Google isolated me
23 internally and externally, and I know that
24 I was also denied further opportunities.
25    Q. I'm talking right now about
                                          Page 299                                                     Page 301
 1            U. ROWE
 2 what you have described as the isolation.                   Page not submitted in support of
 3 And you previously testified about what you              Google's motion for summary judgment
 4 described was the isolation while you were
 5 on Tariq's team. I'm now focused on you
 6 being back in OCTO and being told that you
 7 were to focus on cloud -- hybrid cloud.
 8     A. Yes.
 9     Q. Do you have any reason to
10 believe that the decision to have you focus
11 on hybrid cloud was because you had raised
12 complaints of discrimination?
13         MS. GREENE: Objection.
14     A. I don't know what actually went
15 into that decision. I know the net effect
16 was Google removed all my financial
17 services responsibilities.
18     Q. Do you have any reason to
19 believe that that decision was because you
20 raised complaints of discrimination?
21         MS. GREENE: Objection.
22     A. Look, I don't know for a fact,
23 but I do know what happened to me.
24     Q. Right. You were told to focus
25 on hybrid cloud, right?
                                                                                    76 (Pages 298 - 301)
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       Google's motion for summary judgment                              Google's motion for summary judgment




                                                   Page 311                                                     Page 313
                                                               1            U. ROWE
            Page not submitted in support of                   2 specific than that. Did Will Grannis ever
         Google's motion for summary judgment                  3 say or do anything that leads you to
                                                               4 believe that he would intentionally treat
                                                               5 you differently because of your gender?
                                                               6     A. So to my recollection, he
                                                               7 hasn't said anything. I think when it
                                                               8 comes to doing, you know, he was my hiring
                                                               9 manager and I was down-leveled and paid
                                                              10 lower than my peers in hiring, so by that
                                                              11 action, yes, he was a part of it.
                                                              12     Q. So other than the fact that he
                                                              13 was your hiring manager and he was involved
                                                              14 in the decision about your leveling, other
                                                              15 than that fact, is there anything else that
                                                              16 Will Grannis has ever done or said that
                                                              17 leads you to believe that he would treat
                                                              18 you differently because of your sex?
                                                              19     A. I can't think of any other.
                                                              20     Q. Is that also true for Brian
                                                              21 Stevens?
                                                              22     A. Yes.
                                                              23     Q. At some point after you joined
                                                              24 Google you started looking for another job,
                                                              25 correct?
                                                                                              79 (Pages 310 - 313)
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                                                Page 322                                              Page 324
                                                            1            U. ROWE
                                                            2 are both eng jobs, so they are both under
           Page not submitted in support of                 3 the same eng leveling guide. They both
        Google's motion for summary judgment                4 attend the eng leadership meetings. They
                                                            5 attend, you know, quarterly tech leadership
                                                            6 summits. So for many purposes they are
                                                            7 treated similarly, they are considered eng
                                                            8 leadership roles.
                                                            9     Q. Have you ever seen the
                                                           10 engineering leveling guide?
                                                           11     A. Yes.
                                                           12     Q. When was the first time you saw
                                                           13 that?
                                                           14     A. I don't remember the date.
                                                           15     Q. Was it in connection with
                                                           16 discovery in this case?
                                                           17     A. No. I don't know if I saw it
                                                           18 as part of discovery, but I saw it at
                                                           19 Google, you know, as part of my being an
                                                           20 employee at Google.
                                                           21     Q. Do you know what a director,
                                                           22 product management, does at Google?
                                                           23     A. So, sorry, there is something
                                                           24 going on with my lighting. I apologize for
                                                           25 that.
                                                Page 323                                              Page 325
                                                            1            U. ROWE
            Page not submitted in support of                2         So director, product
         Google's motion for summary judgment               3 management, are similar, they are
                                                            4 considered eng roles. They have, you know,
                                                            5 similar -- they require similar
                                                            6 qualifications, you know, similar
                                                            7 responsibilities to what I just said for
                                                            8 the other two.
                                                            9    Q. So as far as you're concerned
                                                           10 they are the same as director, software
                                                           11 engineering, and director, application
                                                           12 engineering?
                                                           13    A. No, I did not say they are
                                                           14 exactly the same.
                                                           15    Q. How are they different?
                                                           16    A. I don't know how, you know, the
                                                           17 day-to-day responsibilities of those roles
                                                           18 are, but I do know that they are pretty
                                                           19 comparable.
                                                           20    Q. Are you qualified to be a
                                                           21 director, software engineering?
                                                           22    A. I believe so.
                                                           23    Q. Are you qualified to be a
                                                           24 director of application engineering?
                                                           25    A. I believe so.
                                                                                        82 (Pages 322 - 325)
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                                                    Page 327                                                     Page 329
 1           U. ROWE
 2 comparable.                                                               Page not submitted in support of
 3    Q. How are they different?                                          Google's motion for summary judgment
 4    A. I don't know what he does on a
 5 day-to-day basis, so I don't know, you
 6 know, what he does that might be different,
 7 but what I do know is that, you know, he
 8 does provide, you know, product and
 9 engineering guidance. He does provide
10 thought leadership. He works across the
11 organization. And he does have -- he does
12 have, you know, client facing, and
13 understanding his clients and building
14 product type responsibilities.
15    Q. Does he write code as part of
16 his job?
17    A. I don't know.
18    Q. Do you?
19    A. I don't, not production code.
20    Q. Have you ever, since you have
21 been at Google?
22    A. So I have written code, but I
23 have not contributed code to Google's
24 products, if that's what you are asking.
25    Q. Do you know anyone else who is
                                                                                              83 (Pages 326 - 329)
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        Google's motion for summary judgment                                 Google's motion for summary judgment




                                                Page 333                                                        Page 335
                                                            1
            Page not submitted in support of                2                U L K U R O W E,
         Google's motion for summary judgment               3        having been first duly sworn by the Notary Public,
                                                            4        was examined and testified as follows:
                                                            5   EXAMINATION CONDUCTED BY MR. GAGE:
                                                            6        Q. Good morning, Miss Rowe.
                                                            7        A. Good morning.
                                                            8        Q. Tell us what did you do to prepare
                                                            9   for today's continued deposition?
                                                           10        A. I talked to my lawyer and I
                                                           11   reviewed some documents.
                                                           12        Q. What documents did you review?
                                                           13        A. I reviewed parts of my testimony,
                                                           14   my deposition and Stuart Vardaman's and looked
                                                           15   a some e-mails.
                                                           16        Q. Stuart Vardaman's deposition, is
                                                           17   that what you're referring? To
                                                           18        A. Yes.
                                                           19        Q. What e-mails did you look at?
                                                           20        A. The e-mails he and I exchanged.
                                                           21        Q. The e-mails you and he exchanged
                                                           22   regarding what?
                                                           23        A. The VP of financial services sales
                                                           24   role.
                                                           25        Q. How do you know Kirsten Kliphouse?

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                                                Page 336                                                 Page 338
 1                ULKU ROWE
 2        A. She is the head of North American
 3   sales at Google.                                                Page not submitted in support of
                                                                  Google's motion for summary judgment
 4        Q. When did you first come to know
 5   Miss Kliphouse?
 6        A. I don't remember the exact date,
 7   but shortly after she joined Google.
 8        Q. When was that?
 9        A. I think it was like beginning of
10   the year.
11        Q. Beginning of what year?
12        A. 2020.
13        Q. How did you first meet Miss
14   Kliphouse?
15        A. She and I had a one-on-one meet
16   and greet.
17        Q. How did that one-on-one meet and
18   greet come about?
19        A. I reached out to her. She was new
20   at Google and I said I would like to meet and
21   say Hi and introduce myself.
22        Q. Why did you reach out to her?
23        A. It's customary, she is head of
24   sales, I do a lot of work with sales, so it was
25   a kind of say Hi meeting.
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                                                   Page 340                                                  Page 342
                                                               1                 ULKU ROWE
                                                               2         Q. What did she tell you about the
          Page not submitted in support of                     3   role she was planning to hire for?
       Google's motion for summary judgment                    4         A. She said that she was looking for
                                                               5   a VP of sales for financial services and she
                                                               6   also said that she is looking for people that
                                                               7   are not from -- she was looking for people that
                                                               8   don't have the traditional sales background.
                                                               9   Those were not necessarily a good fit for the
                                                              10   first time role either so she was looking more
                                                              11   broadly.
                                                              12         Q. Did she use those words and
                                                              13   what I mean by that is not looking for someone
                                                              14   in the traditional sales background?
                                                              15         A. I don't remember her exact words,
                                                              16   but she was definitely saying they are
                                                              17   broadening to include nonsales background
                                                              18   people, but I don't remember if those were her
                                                              19   exact words.
                                                              20         Q. What if anything else do you
                                                              21   remember about what Miss Kliphouse told you
                                                              22   concerning this position and what she was
                                                              23   looking for?
                                                              24         A. I told her I was interested in the
                                                              25   role and she asked me to reach out to HR about
                                                   Page 341                                                  Page 343
                                                               1                ULKU ROWE
            Page not submitted in support of                   2   the role.
         Google's motion for summary judgment                  3        Q. Did she tell you who specifically
                                                               4   to reach out to by name?
                                                               5        A. She said Stuart Vardaman but she
                                                               6   may have mentioned another person. I don't
                                                               7   remember the number.
                                                               8        Q. Did you say she said Stuart
                                                               9   Vardaman?
                                                              10        A. That is my recollection.
                                                              11        Q. Did Miss Kliphouse tell you
                                                              12   whether this job had been posted yet,
                                                              13   advertised?
                                                              14        A. I don't remember that. I don't
                                                              15   think so.
                                                              16        Q. Did Miss Kliphouse say anything to
                                                              17   you about whether she had looked at or considered
                                                              18   candidates as of that point?
                                                              19        A. I don't remember that. For your
                                                              20   earlier question I think I said she didn't tell
                                                              21   me it was posted, I don't know if it was posted
                                                              22   internally in Google. She indicated that it
                                                              23   was an active job search.
                                                              24        Q. As of the point at which you had
                                                              25   coffee with her she told you that it was at

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                                                Page 345                                                     Page 347
                                                            1                ULKU ROWE
            Page not submitted in support of                2        A. No.
         Google's motion for summary judgment               3        Q. It does not?
                                                            4        A. No.
                                                            5        Q. Does it fairly describe your role
                                                            6   in the sales process at Google?
                                                            7        A. No.
                                                            8        Q. Does the phrase business
                                                            9   development describe in any way the work that
                                                           10   you do at Google?
                                                           11        A. It is part of what I do. I do get
                                                           12   involved in the business development process
                                                           13   with the sales teams, but it's not my title.
                                                           14        Q. Okay. I didn't ask you if it was
                                                           15   your title.
                                                           16        A. Right. But my primary role is not
                                                           17   business development, if that is what you're
                                                           18   asking.
                                                           19        Q. What your primary role?
                                                           20        A. I'm an engineering director with
                                                           21   the office of the CTO at Google.
                                                           22        Q. Is it fair to say that your
                                                           23   primary role is not sales?
                                                           24        A. Well, I get involved quite a bit
                                                           25   with sales, but yes, that is not my primary

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                                                 Page 348                                                     Page 350
 1               ULKU ROWE
 2   role.
 3        Q. You also get involved in business                        Page not submitted in support of
                                                                   Google's motion for summary judgment
 4   development, is that true?
 5        A. True.
 6        Q. But it is your testimony that your
 7   primary role is an engineering role; is that
 8   right?
 9        A. Correct.
10        Q. When Miss Kliphouse indicated to
11   you in this conversation over coffee that she
12   was considering people who did not have
13   traditional sales backgrounds, how did you
14   react, if at all?
15        A. I don't remember.
16        Q. Did hearing that lead you to think
17   that you might be qualified for the job that
18   she was trying to fill?
19        A. Yes.
20        Q. If she had instead told you that
21   it was a traditional sales background she was
22   looking for, would you have expressed interest?
23        A. I think I would have asked her
24   more questions.
25        Q. What more questions would you have
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                                                Page 356                                                   Page 358
                                                            1                 ULKU ROWE
                                                            2   that you would not be considered further for
            Page not submitted in support of                3   the role.
         Google's motion for summary judgment
                                                            4             He sent you the job posting;
                                                            5   correct?
                                                            6        A. He did.
                                                            7        Q. And do you have that available to
                                                            8   you now? I think it should be shared with you
                                                            9   I think it is previously marked as Plaintiff's
                                                           10   Exhibit 115.
                                                           11        A. In the shared drive, yes.
                                                           12        Q. So you have it in front of you?
                                                           13        A. Yes.
                                                           14        Q. You received this after your
                                                           15   conversation with Miss Kliphouse, correct?
                                                           16        A. Correct.
                                                           17        Q. Can you read to me the two lines
                                                           18   at the bottom of the first page starting with
                                                           19   the word "drawing"?
                                                           20        A. "Drawing upon previous
                                                           21   demonstrable success leading sizeable
                                                           22   technology sales teams that served he financial
                                                           23   services industry."
                                                           24        Q. Did you have previous demonstrable
                                                           25   success leading sizable technology sales teams
                                                Page 357                                                   Page 359
                                                            1                ULKU ROWE
            Page not submitted in support of                2   that served the financial services industry?
         Google's motion for summary judgment               3        A. I had sales experience. I didn't
                                                            4   directly lead sales teams, but based on how
                                                            5   Kirsten was describing the role, I thought it
                                                            6   was appropriate for me to raise my hand.
                                                            7        Q. I didn't ask you whether it was
                                                            8   appropriate for you to raise your hand. I just
                                                            9   asked you in fact if you had "previous
                                                           10   demonstrable success leading sizable technology
                                                           11   sales teams that served the financial services
                                                           12   industry." Did you?
                                                           13        A. No.
                                                           14             MS. GREENE: Objection, asked and
                                                           15        answered.
                                                           16        A. No, but I had relative experience
                                                           17   that would be useful.
                                                           18        Q. Did you have what you just read?
                                                           19        A. No.
                                                           20        Q. Were you discouraged when you read
                                                           21   that?
                                                           22        A. No.
                                                           23        Q. Did you -- I want to flip over to
                                                           24   the second page of this document in the middle
                                                           25   below the words "The financial services leader

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                                                 Page 360                                                      Page 362
 1               ULKU ROWE
 2   will". Do you see that?
 3        A. I do.                                                         Page not submitted in support of
                                                                        Google's motion for summary judgment
 4        Q. Had you ever previously or had you
 5   ever "managed a team of field sales executives
 6   and sales managers to meet quarterly and annual
 7   bookings objectives."?
 8        A. I have not.
 9        Q. Have you ever "Recruited top
10   talent and coached a team with a focus on
11   providing actionable forthright feedback."?
12        A. Absolutely.
13        Q. Can you give me some examples when
14   you have done that?
15        A. I have managed many teams in my
16   background at JP Morgan, Bank Of America, at
17   UBS, I coached teams, I managed large teams, I
18   recruited top talent, I coached the teams.
19        Q. Any sales teams?
20        A. I have not managed sales teams.
21        Q. So have you ever coached sales
22   teams?
23        A. I have not, but that's not what it
24   says here.
25        Q. Where it says coach the team,
                                                 Page 361                                                      Page 363
                                                             1                ULKU ROWE
             Page not submitted in support of                2        A. Correct.
          Google's motion for summary judgment               3        Q. And that is not a qualification
                                                             4   that you have, correct?
                                                             5        A. Well, that's not correct. I have
                                                             6   not directly managed sales business development
                                                             7   teams, but I do have the qualifications to be
                                                             8   able to manage such a team.
                                                             9        Q. But the qualification described
                                                            10   here is "Proven success managing a sales
                                                            11   business development organization to meet and
                                                            12   exceed revenue goals." Do you have that
                                                            13   qualification?
                                                            14        A. No.
                                                            15        Q. When you read that as one of the
                                                            16   listed qualifications for this position, did
                                                            17   that concern you at all?
                                                            18        A. No, as I said before, I have a lot
                                                            19   of qualifications both working in the sales
                                                            20   area with the sales team, both building teams,
                                                            21   both experience in the financial services
                                                            22   industry. Experience in the technology
                                                            23   industry, understanding how Google works. I
                                                            24   have plenty of qualifications for the role.
                                                            25        Q. Can you describe all of your

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                                                   Page 372                                                       Page 374
                                                               1              ULKU ROWE
                                                               2   role.
               Page not submitted in support of
                                                               3        Q. Have you ever met Miss Piazza?
            Google's motion for summary judgment               4        A. We have been in meetings together,
                                                               5   yes.
                                                               6        Q. Do you have an opinion as to her
                                                               7   qualifications for this sales role based upon
                                                               8   your interactions with her?
                                                               9        A. Look, I can't speak to her
                                                              10   qualifications. I don't know enough about her.
                                                              11        Q. When she joined Google did you set
                                                              12   up a meet and greet with her?
                                                              13        A. I didn't, but she and I have been
                                                              14   in quite a few meetings together.
                                                              15        Q. Is there a reason why you didn't
                                                              16   set up a meet and greet with her when she
                                                              17   joined?
                                                              18        A. Look, I think -- I don't think
                                                              19   there is a specific reason.
                                                              20        Q. Was it your practice to set up
                                                              21   meet and greets with new leaders who had joined
                                                              22   Google from outside the company?
                                                              23        A. Sometimes, especially like if I
                                                              24   don't have reason to work with them on a
                                                              25   day-to-day basis. Others I work together all
                                                   Page 373                                                       Page 375
 1                  ULKU ROWE
 2          use a phrase I want to know what she means
                                                                              Page not submitted in support of
 3          by it. It's a different question, Cara                         Google's motion for summary judgment
 4          A. I'm just saying I don't know a
 5     hundred percent. She may.
 6          Q. But you're speculating about that,
 7     correct?
 8          A. Correct.
 9          Q. Do you know who was hired for that
10     position?
11          A. I think at the end it went to
12     Yolanda Piazza.
13          Q. Do you know anything about her
14     qualifications for the job?
15          A. I don't know too much about her.
16     I know she came from Citibank and she had been
17     there for a long time and I don't know much
18     beyond that.
19          Q. Do you have an opinion as to
20     whether you're better qualified, equally
21     qualified or lesser qualify than Miss Piazza
22     for the role?
23          A. I don't know all of her
24     qualifications, I can't speak to that. I can
25     speak to the fact that I was qualified for the

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                                               Page 388                                                    Page 390
 1                  ULKU ROWE
 2     verbal conversation not an e-mail exchange?
 3          A. Yes.                                                    Page not submitted in support of
 4          Q. I want to make sure that we are                      Google's motion for summary judgment
 5     both on the same page.
 6              How long was that conversation?
 7          A. I don't remember exactly how long
 8     it was, but less than half an hour probably.
 9          Q. What's your best estimate as to
10     how much less than a half an hour it was?
11          A. I don't remember. Maybe 20
12     minutes, I don't know.
13          Q. Was it more than five minutes?
14          A. I think so, yes.
15          Q. Do you think it was more than 15
16     minutes?
17          A. Maybe 15, 20 minutes, I don't
18     remember the exact length.
19          Q. Who called whom, if you recall?
20          A. I think it was a video conference
21     so we both dialed into the conference.
22          Q. Who spoke first?
23          A. I don't remember.
24          Q. What did he tell you?
25          A. So, this was a meeting to update
                                               Page 389                                                    Page 391
 1                  ULKU ROWE
 2     me on the VP of sales role. So he told me that
                                                                       Page not submitted in support of
 3     I would not be considered for the role.                      Google's motion for summary judgment
 4          Q. What did you say in response?
 5          A. I asked some questions.
 6          Q. What questions did you ask?
 7          A. I asked him why.
 8          Q. What did he say?
 9          A. He said that they were looking for
10     someone that has a more commercial background.
11          Q. What else did you ask?
12          A. I asked him like what made them
13     think that I wasn't qualified for the role.
14          Q. What did he say?
15          A. He said that it was based on a
16     two-hour meeting that I had with Kirsten.
17     Two-hour interview actually he said.
18          Q. What else did you ask?
19          A. I think I added some more prodding
20     questions. I don't remember all the questions.
21     I said to him that I wasn't aware that the
22     meeting that I had with Kirsten was an
23     interview. I said to him that it was like a
24     meet and greet and that it was actually in this
25     meeting that I found out about this role. I

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                                                                1                ULKU ROWE
                                                                2   do you have any reason to believe that the
                                                                3   e-mail that you sent to your lawyers contains
                                                                4   any additional details about the conversation
           Page not submitted in support of
        Google's motion for summary judgment                    5   with Mr. Vardaman that you've not already
                                                                6   shared?
                                                                7         A. I don't believe so.
                                                                8         Q. I think you testified that
                                                                9   Mr. Vardaman told you that they were looking
                                                               10   for someone with a more commercial background
                                                               11   for the position that Miss Kliphouse was
                                                               12   filling.
                                                               13             What did you understand that
                                                               14   phrase to mean, a more commercial background?
                                                               15         A. That they were looking for someone
                                                               16   with a direct sales experience.
                                                               17         Q. Was that statement that
                                                               18   Mr. Vardaman made to you consistent with the
                                                               19   description of the job that he sent to you?
                                                               20         A. Yes, but it wasn't how Kirsten
                                                               21   described the role.
                                                               22         Q. Well, how did Kirsten describe the
                                                               23   role in a manner inconsistent with that?
                                                               24         A. Because she said they are looking
                                                               25   beyond the pure sales experience, the
                                                    Page 393                                                        Page 395


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